Case 2:18-cv-12581-VAR-APP ECF No. 4, PageID.12 Filed 09/11/18 Page 1 of 23




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 MYRON RAGSDALE,

              Plaintiff,
 v.                                          Civil Action No. 2:18-cv-12581
                                             Honorable Victoria A. Roberts
 CREDIT ACCEPTANCE
 CORPORATION, a Michigan
 corporation,

              Defendant.


  DEFENDANT’S MOTION TO DISMISS OR, IN THE ALTERNATIVE,
       STAY PROCEEDINGS AND COMPEL ARBITRATION

      Pursuant to Federal Rules of Civil Procedure 12(b)(1), (b)(3) and (b)(6), and

the Federal Arbitration Act, 9 U.S.C. §§ 1 et seq., Defendant Credit Acceptance

moves to dismiss Plaintiff’s Complaint or, in the alternative, stay proceedings and

compel the arbitration of Plaintiff’s claim. Plaintiff’s lawsuit is barred by the parties’

Alternative Dispute Resolution Agreement which requires Plaintiff to submit his

claim to final and binding arbitration. Defendant’s motion is supported by the

attached brief and exhibits.

      Pursuant to E.D. Mich. LR 7.1, on September 10, 2018, there was a conference

between the attorneys for the parties in which Defendant’s counsel explained the
Case 2:18-cv-12581-VAR-APP ECF No. 4, PageID.13 Filed 09/11/18 Page 2 of 23




nature of the motion and its legal basis. Plaintiff did not concur in the relief,

necessitating this motion.

      For the reasons stated in the accompanying brief, Credit Acceptance asks the

Court to (1) dismiss Plaintiff’s Complaint or, in the alternative, stay proceedings and

compel arbitration, and (2) award Credit Acceptance its attorney’s fees and costs

incurred in bringing this motion.

                                        Respectfully submitted,

                                        NEMETH LAW, P.C.

                                        By: s/ Susan D. Koval
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Dated: September 11, 2018




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Case 2:18-cv-12581-VAR-APP ECF No. 4, PageID.14 Filed 09/11/18 Page 3 of 23




                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION

MYRON RAGSDALE,

           Plaintiff,
v.                                    Civil Action No. 2:18-cv-12581
                                      Honorable Victoria A. Roberts
CREDIT ACCEPTANCE
CORPORATION, a Michigan
corporation,

           Defendant.




          BRIEF IN SUPORT OF DEFENDANT’S MOTION TO
             DISMISS OR, IN THE ALTERNATIVE, STAY
            PROCEEDINGS AND COMPEL ARBITRATION
 Case 2:18-cv-12581-VAR-APP ECF No. 4, PageID.15 Filed 09/11/18 Page 4 of 23




                                                  TABLE OF CONTENTS


STATEMENT OF ISSUES PRESENTED ............................................................................... ii
INDEX OF AUTHORITIES ....................................................................................................... iiiii
INTRODUCTION ............................................................................................................................... 1
STATEMENT OF RELEVANT FACTS .................................................................................. 2
ARGUMENT ......................................................................................................................................... 5
I.     THE FAA REQUIRES COURTS TO ENFORCE VALID AGREEMENTS
       TO ARBITRATE EMPLOYMENT-RELATED CLAIMS................................5
II. PLAINTIFF MUST ARBITRATE HIS CLAIM............................................................ 7
       A. The Parties Entered Into A Valid Agreement To Arbitrate ................................ 7
       B. Plaintiff’s Claim Is Arbitrable.......................................................................8
III. THIS COURT AND ANOTHER FEDERAL COURT RECENTLY
      ENFORCED CREDIT ACCEPTANCE’S ADR AGREEMENT AND ADR
      POLICY AND GRANTED MOTIONS TO DISMISS......................................... 12
IV. THE COURT SHOULD DISMISS PLAINTIFF’S COMPLAINT OR,
    IN THE ALTERNATIVE, STAY THIS PROCEEDING AND
    COMPEL PLAINTIFF TO SUBMIT HIS CLAIM TO
    MANDATORY ARBITRATION ....................................................................................... 14
CONCLUSION ................................................................................................................................... 15
Case 2:18-cv-12581-VAR-APP ECF No. 4, PageID.16 Filed 09/11/18 Page 5 of 23




                  STATEMENT OF ISSUES PRESENTED

1.   Should Plaintiff’s Complaint be dismissed because Plaintiff agreed to submit
     claims arising from his employment to arbitration?

     Defendant answers, “Yes.”
     Plaintiff answers, “No.”

2.   In the alternative, should this Court stay proceedings and order Plaintiff to
     arbitrate his claim?

     Defendant answers, “Yes.”
     Plaintiff answers, “No.”




                                        ii
 Case 2:18-cv-12581-VAR-APP ECF No. 4, PageID.17 Filed 09/11/18 Page 6 of 23




                                      INDEX OF AUTHORITIES

Cases

Alford v. Dean Witter Reynolds, Inc., 975 F.2d 1161, 1164 (5th Cir. 1992)...........11
Asplundh Tree Expert Co. v. Bates, 71 F.3d 592 (6th Cir. 1995) ..............................6
AT&T Mobility LLC v. Concepcion, 563 U.S. 333 (2011) ......................................13
Bhim v. Rent-A-Ctr., Inc., 655 F. Supp. 2d 1307 (S.D. Fla. 2009) ..........................13
Caley v. Gulfstream Aerospace Corp., 428 F.3d 1359 (11th Cir. 2005) .................13
Circuit City Stores, Inc. v. Adams, 532 U.S. 105 (2001) ...........................................6
Dean Witter Reynolds, Inc. v. Byrd, 470 U.S. 213 (1985).........................................6
Fernandez v. Clear Channel Broad, Inc., 268 F. Supp. 2d 1365
   (S.D. Fla. 2003) ..................................................................................................13
Gilmer v. Interstate/Johnson Lane Corp., 500 U.S. 20 (1991) ...............................13
Green Tree Fin. Corp. v. Randolph, 531 U.S. 79 (2002) ..........................................9
Green v. Ameritech Corp., 200 F.3d 967 (6th Cir. 2000) ........................................11
Griffin v. Gutter Grate of Troy/Birmingham LLC, 546 F. Supp. 2d 469
     (E.D. Mich. 2008) ..............................................................................................8
Hermiz v. Credit Acceptance Corp., No. 16-14089,
  2017 WL 2988258 (E.D. Mich. February 16, 2017) ......................................1, 12
Ivax Corp. v. B. Braun of Am., Inc., 286 F.3d 1309 (11th Cir. 2002) .......................9
Johnson v. Long John Silver’s Restaurants, Inc., 320 F. Supp. 2d 656
  (M.D. Tenn. 2004) ................................................................................................13
Lim v. Offshore Specialty Fabricators, Inc., 404 F.3d 898 (5th Cir. 2005) ............11
McKinistry v. Valley Obstetrics-Gynecology Clinic, P.C.,
428 Mich. 167 (1987).................................................................................................8
Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth, Inc.,
  473 U.S. 614 n.13 (1989) ......................................................................................9
Moore v. Ferrell Gas, Inc., 533 F. Supp. 2d 740 (W.D. Mich. 2008) .............. 11, 14
Moses H. Cone Memorial Hosp. v. Mercury Const. Corp., 460 U.S. 1 (1983) ....6, 9
                                                          iii
 Case 2:18-cv-12581-VAR-APP ECF No. 4, PageID.18 Filed 09/11/18 Page 7 of 23




O’Neil v Hilton Head Hosp., 115 F.3d 272, 274 (4th Cir. 1997) ....................... 9, 10
Pellow v. Daimler Chrysler Services North America, LLC, No. 05-73815,
   2006 WL 2540947 (E.D. Mich. August 31, 2006) .............................................13
Poore v Caidan Mgmt. Co., No. 12-14487, 2013 WL 765301
  (E.D. Mich. February 28, 2013)............................................................................9
Rent-A-Center v. Jackson, 561 U.S. 63 (2010)........................................................ 12
Seawright v. American General Fin. Services, Inc., 507 F.3d 967
   (6th Cir. 2007) .......................................................................................................9
TBI Investments, Inc. v. BrooAlexa, LLC, 119 F. Supp. 3d 512
  (S.D. W.Va. 2015) ..............................................................................................11
Volt Info. Scis., Inc. v. Bd. Of Tr. of the Leland Stanford Junior Univ.,
 489 U.S. 468 (1989) ..............................................................................................13
Vulpis v. Credit Acceptance Corp., No. 16-61200, 2016 WL 10932954
  (S.D. Fla. September 22, 2016)...................................................................... 1, 12
Watson Wyatt & Co. v. SBC Holdings, Inc., 513 F.3d 646 (6th Cir. 2008) ..............7
Wilks v. Pep Boys, 241 F. Supp. 2d 860 (M.D. Tenn. 2003) ...................................13
Statutes
9 U.S.C. § 2 ....................................................................................................... 2, 5, 6
9 U.S.C. § 3 ......................................................................................... 5, 6, 11, 14, 15
9 U.S.C. § 4 ......................................................................................................... 6, 14
9 U.S.C. §§ 3-4...........................................................................................................6
29 U.S.C. §§ 2615. ........................................................................................... passim




                                                            iv
Case 2:18-cv-12581-VAR-APP ECF No. 4, PageID.19 Filed 09/11/18 Page 8 of 23




                                INTRODUCTION

      Plaintiff Myron Ragsdale, a former employee of Defendant Credit Acceptance

who was terminated for dishonesty, alleges in this case that the termination of his

employment violated the Family and Medical Leave Act (“FMLA”), 29 U.S.C. §

2615. [Ex.1; Complaint] However, Plaintiff’s lawsuit is barred by the parties’

Alternative Dispute Resolution Agreement (“ADR Agreement”). [Ex.2]

      The ADR Agreement requires Plaintiff to resolve claims arising from his

employment or termination of employment ─ including FMLA claims ─ using the

procedures set forth in Credit Acceptance’s ADR Policy and Procedure (“ADR

Policy”). [Ex.3] The ADR Policy contains a three-step procedure for resolving

disputes between Credit Acceptance and its employees. Step 3 of that process is

arbitration. [Ex.3] Both the ADR Agreement and ADR Policy expressly bar Plaintiff

from filing claims regarding his employment in court.

      This Court recently enforced Credit Acceptance’s ADR Agreement and ADR

Policy, requiring the plaintiff in that case to arbitrate her FMLA and state law

discrimination claims. Hermiz v. Credit Acceptance Corp., No. 16-14089, 2017 WL

2988258 (E.D. Mich. February 16, 2017). [Ex.4] Likewise, another federal court in

Florida examined Credit Acceptance’s Agreement and ADR Policy, and required

the plaintiff in that case to arbitrate her FMLA and state law discrimination claims.
Case 2:18-cv-12581-VAR-APP ECF No. 4, PageID.20 Filed 09/11/18 Page 9 of 23




Vulpis v. Credit Acceptance Corp., No. 16-61200, 2016 WL 10932954 (S.D. Fla.

September 22, 2016). [Ex.5].

      Under the Federal Arbitration Act (“FAA”), the parties’ ADR Agreement is

“valid, irrevocable, and enforceable.” 9 U.S.C. § 2. As shown below, the Court

should dismiss Plaintiff’s Complaint, or in the alternative, stay the proceedings and

compel arbitration.

                      STATEMENT OF RELEVANT FACTS

Plaintiff’s Employment and the ADR Agreement

      On or about June 5, 2017, Plaintiff began his employment with Credit

Acceptance. Throughout Plaintiff’s employment, Plaintiff and Credit Acceptance

were bound to an ADR Agreement. In the ADR Agreement, Plaintiff agreed that

“certain disputes arising out of or related to my employment . . . or the termination

of that employment . . . shall be resolved exclusively through the Company’s” ADR

Policy “which includes a final and binding arbitration procedure.” [Ex.2; ¶ 1]

      Defendant’s ADR Policy uses a three step procedure for resolving “covered

claims.” These steps are negotiation (Step 1), mediation (Step 2), and final and

binding arbitration (Step 3). [Ex. 3; Sections III-V] The ADR Policy broadly defines

“covered claims” to include “disciplinary action” and “termination” that are alleged

to violate “federal, state, or local civil rights laws, fair employment laws, . . . laws

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Case 2:18-cv-12581-VAR-APP ECF No. 4, PageID.21 Filed 09/11/18 Page 10 of 23




against discrimination, . . . laws in regards to employment benefits or protections,

family and medical leave laws, . . . the Family and Medical Leave Act . . . .” [Ex.3;

Section I.B.1]

      The ADR Policy’s procedures are mandatory and exclusive. The ADR

Agreement states that covered employment-related disputes “arising out of or related

to my employment . . . or the termination of that employment . . . shall be resolved

exclusively” through the ADR Policy which “is made a part hereof.” [Ex.2; ¶ 1,

emphasis added] Similarly, the ADR Policy provides that its dispute resolution

procedures are the “sole and exclusive method” for resolving disputes “arising out

of or related to your employment with the Company or the termination of that

employment.” [Ex.3; Section I.A, emphasis added] By entering into the ADR

Agreement, the parties agreed that the ADR Policy “shall mandatorily apply and be

the sole and exclusive method” for resolving covered “employment-related

disputes.” [Ex.3; Section XIV, emphasis added] The ADR Policy also provides that

claims “not resolved in Steps 1 and 2 above, shall be resolved solely and exclusively

through arbitration as provided herein.” [Ex.3; Section V.A, emphasis added]

      The ADR Agreement and ADR Policy expressly bar lawsuits over covered

claims. The ADR Agreement further provides as follows: “I understand that by

signing this Agreement I am waiving any right that I may have to a jury trial and/or

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Case 2:18-cv-12581-VAR-APP ECF No. 4, PageID.22 Filed 09/11/18 Page 11 of 23




a court trial of such included employment-related disputes.” [Ex. 2; ¶ 9] The ADR

Policy similarly provides that “neither one of us will initiate or prosecute any lawsuit

or administrative action (other than an administrative charge of discrimination) that

is in any way related to any claim covered by this ADR Policy.” [Ex.3; Section V.A]

The ADR Policy also states: “Except as otherwise provided herein, no court or

agency – whether federal, state, local or otherwise – shall have any jurisdiction to

hear or resolve any claims covered by this” Policy. [Ex.3; Section V.D.1] The ADR

Policy further provides: “This policy waives any right that you or the Company may

have to a jury trial or a court trial of any herein covered employment-related

dispute.” [Ex. 3; Section IX, emphasis in original]

      Notably, the ADR Policy gives exclusive jurisdiction to the arbitrator to

resolve all disputes relating to the interpretation, application or formation of the

Agreement. [Ex.3; Section V.D.1] Additionally, the ADR Policy incorporates the

rules for arbitration of employment disputes of the American Arbitration Association

(“AAA”). [Ex.3; Section V.B.1]

Plaintiff’s Lawsuit

      Plaintiff alleges that on February 21, 2018, Credit Acceptance terminated his

employment. [Ex.1; Complaint, ¶23] On August 21, 2018, in direct breach of the



                                           4
     Case 2:18-cv-12581-VAR-APP ECF No. 4, PageID.23 Filed 09/11/18 Page 12 of 23




 ADR Agreement, Plaintiff brought this federal court action alleging violations of the

 FMLA (Count I). [Ex.1; Complaint]

 Defendant’s Motion to Dismiss and/or Compel Arbitration

          Credit Acceptance now moves to dismiss Plaintiff’s Complaint and/or compel

 arbitration. Under the parties’ ADR Agreement, Plaintiff’s claim must be resolved

 pursuant to the procedures of the ADR Policy, which culminate in final and binding

 arbitration. Under the FAA, this agreement to arbitrate is “valid, irrevocable, and

 enforceable.” 9 U.S.C. § 2. As explained more fully below, the Court should dismiss

 Plaintiff’s Complaint. Alternatively, the Court should stay this action pending

 arbitration. 9 U.S.C. § 3.

                                     ARGUMENT

I.     THE FAA REQUIRES COURTS TO ENFORCE VALID AGREEMENTS
       TO ARBITRATE EMPLOYMENT-RELATED CLAIMS.

          The FAA provides that a “written provision in any . . . contract evidencing a

 transaction involving commerce to settle by arbitration a controversy thereafter

 arising out of such contract or transaction, . . . shall be valid, irrevocable, and

 enforceable, save upon such grounds as exist at law or in equity for the revocation




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Case 2:18-cv-12581-VAR-APP ECF No. 4, PageID.24 Filed 09/11/18 Page 13 of 23




of any contract.”1 9 U.S.C. § 2. The FAA “is a congressional declaration of a liberal

federal policy favoring arbitration agreements, notwithstanding any state substantive

or procedural policies to the contrary.” Asplundh Tree Expert Co. v. Bates, 71 F.3d

592, 595 (6th Cir. 1995) (quoting Moses H. Cone Memorial Hosp. v. Mercury Const.

Corp., 460 U.S. 1, 24 (1983)).

      The provisions of the FAA are mandatory. See 9 U.S.C. §§ 3-4. “By its terms,

the Act leaves no place for the exercise of discretion by a district court, but instead

mandates that district courts shall direct the parties to proceed to arbitration on issues

as to which an arbitration agreement has been signed.” Dean Witter Reynolds, Inc.

v. Byrd, 470 U.S. 213, 218 (1985) (emphasis in original).

      The FAA covers contracts of employment and may be used to compel

arbitration of employment-related claims. Circuit City Stores, Inc. v. Adams, 532

U.S. 105 (2001) (holding that only employment contracts of transportation workers

are exempted from the FAA). In determining whether the parties agreed to arbitrate

a particular dispute, a court must first decide whether a valid agreement to arbitrate

exists. If a valid agreement to arbitrate exists, then the court must decide whether the




1
  The ADR Policy recognizes that Credit Acceptance “is engaged in transactions
involving interstate commerce and that your employment involves such commerce.”
[Ex.3; Section VI]
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      Case 2:18-cv-12581-VAR-APP ECF No. 4, PageID.25 Filed 09/11/18 Page 14 of 23




  specific dispute at issue falls within the scope of the agreement. Watson Wyatt & Co.

  v. SBC Holdings, Inc., 513 F.3d 646, 649 (6th Cir. 2008).

II.     PLAINTIFF MUST ARBITRATE HIS CLAIM.

           A.    The Parties Entered Into A Valid Agreement To Arbitrate.

           In the ADR Agreement, Plaintiff “acknowledge[s] that I have received and

  will read” the ADR Policy and “become familiar with and abide by its terms.” [Ex.2;

  ¶ 5] The ADR Agreement begins with the statement that “This is a very significant

  Document” and “Read Carefully Before Signing.” [Ex.2; bold in original] It ends

  with bold, capitalized print above signature lines stating:

           I HAVE READ AND UNDERSTAND EACH AND EVERY
           PROVISION OF THE FOREGOING AND VOLUNTARILY
           AND KNOWINGLY AGREE TO THE TERMS AND
           CONDITIONS OF THIS ADR AGREEMENT.
           [Ex.2; bold in original]

      The ADR Policy provides further that:

           Generally any and all claims covered by this ADR Policy and
           Procedure, not resolved in Steps 1 [Negotiation] and 2 [Mediation]
           above, shall be resolved solely and exclusively through arbitration as
           provided herein. Except as provided elsewhere in this ADR Policy and
           Procedure, neither one of us will initiate or prosecute any lawsuit or
           administrative action (other than an administrative charge of
           discrimination) that is in any way related to any claim covered by this
           ADR Policy and Procedure. Either party may compel arbitration
           pursuant to this ADR Policy and Procedure and may enforce any
           Arbitration Award made pursuant to the ADR Policy and Procedure in
           any court of competent jurisdiction. [Ex.3 at Section V]

                                              7
Case 2:18-cv-12581-VAR-APP ECF No. 4, PageID.26 Filed 09/11/18 Page 15 of 23




      Both Defendant and Plaintiff signed the ADR Agreement and are thus bound

by it. Griffin v. Gutter Grate of Troy/Birmingham LLC, 546 F. Supp. 2d 469, 472

(E.D. Mich. 2008) (ordering arbitration and holding that “one who signs a contract

is presumed to know its contents”); McKinistry v. Valley Obstetrics-Gynecology

Clinic, P.C., 428 Mich. 167, 184 (1987) (“Michigan law . . . presumes that one who

signs a written agreement knows the nature of the instrument so executed and

understands its contents”).

      B.     Plaintiff’s Claim Is Arbitrable.

      In his Complaint, Plaintiff alleges that Credit Acceptance’s conduct and

termination of his employment violate the FMLA. [Ex.1; Complaint] The ADR

Agreement requires use of the ADR Policy’s dispute resolution procedures to

resolve “disputes arising out of or related to my employment” with Credit

Acceptance or the “termination of that employment” regarding disputes “more fully

set forth in the attached” ADR Policy. [Ex.2; ¶s 1-2] The ADR Policy broadly

defines “covered claims” to include alleged violations of “federal, state or local civil

rights laws,” “laws against discrimination,” “laws in regards to employment benefits

or protections,” and “family and medical leave laws” such as “the Family and

Medical Leave Act.” [Ex.3; Section I.B] Unquestionably, the unambiguous terms of

the ADR Agreement and ADR Policy apply to Plaintiff’s FMLA claim.

                                           8
Case 2:18-cv-12581-VAR-APP ECF No. 4, PageID.27 Filed 09/11/18 Page 16 of 23




      Also, “[a]ny doubts concerning the scope of arbitrable issues should be

resolved in favor of arbitration.” Moses H. Cone Memorial Hosp, 460 U.S. at 24-25.

If a plaintiff’s allegations “touch upon matters” covered by the arbitration

agreement, then those claims must be arbitrated. Mitsubishi Motors Corp. v. Soler

Chrysler-Plymouth, Inc., 473 U.S. 614, 625 n.13 (1989). The “parties must clearly

express their intent to exclude categories of claims from their arbitration agreement.”

Ivax Corp. v. B. Braun of Am., Inc., 286 F.3d 1309, 1320 (11th Cir. 2002). These

principles confirm that Plaintiff’s FMLA claim is covered by the parties’ ADR

Agreement.

      “[T]he party seeking to avoid arbitration bears the burden of establishing that

Congress intended to preclude arbitration of the statutory claims at issue.” Green

Tree Fin. Corp. v. Randolph, 531 U.S. 79, 92 (2002). Plaintiff cannot meet this

burden because courts have repeatedly upheld arbitration agreements covering

employment related claims, including claims under the FMLA. Seawright v.

American General Fin. Services, Inc., 507 F.3d 967 (6th Cir. 2007) (enforcing

agreement to arbitrate as to FMLA claim); Poore v. Caidan Mgmt. Co., No. 12-

14487, 2013 WL 765301, at *3 (E.D. Mich. February 28, 2013) (collecting cases

that enforce agreements as to FMLA claims) [Ex.6]; O’Neil v Hilton Head Hosp.,




                                          9
Case 2:18-cv-12581-VAR-APP ECF No. 4, PageID.28 Filed 09/11/18 Page 17 of 23




115 F.3d 272, 274 (4th Cir. 1997) (“Nothing in the language of the FMLA suggests

that Congress wished to exempt disputes arising under it from the FAA”).

      The ADR Policy’s dispute resolution procedures are mandatory and exclusive

and bar Plaintiff from suing in court. The ADR Agreement mandates that covered

employment-related disputes be resolved through use of the ADR Policy’s

procedures and that Plaintiff is “waiving any right that I may have to a jury trial or

court trial of such included employment-related disputes.” [Ex.2; ¶ 9] The ADR

Policy includes all of the following plainly written terms:

       this ADR Policy is “the sole and exclusive method by which an employee
        (‘you’ or an equivalent personal pronoun) and the Company…are required
        to resolve the covered disputes arising out of or related to your
        employment with the Company or the termination of that employment…”
        [Ex.3; § I.A.]

       “…you and the Company agree that this ADR Policy and Procedure shall
        mandatorily apply and be the sole and exclusive method by which you and
        the Company are required to resolve the hereinbefore described
        employment-related disputes…” [Ex.3; § XIV]

       No court shall have any “jurisdiction to hear or resolve any claims covered
        by this” ADR Policy. [Ex.3; § V.D.1]

       “This policy waives any right that you or the Company may have to a jury
        trial or a court trial of any herein covered employment-related dispute,”
        and [Ex.3; § IX emphasis in original]

       “neither one of us will initiate or prosecute any lawsuit or administrative
        action (other than an administrative charge of discrimination) that is in any


                                         10
Case 2:18-cv-12581-VAR-APP ECF No. 4, PageID.29 Filed 09/11/18 Page 18 of 23




          way related to any claim covered by this ADR Policy and Procedure.”
          [Ex.3; § V.A.]

      Because Plaintiff’s claim is within the ADR Agreement’s scope, and the

procedures set forth in the ADR Policy are mandatory and exclusive, the most

appropriate remedy is to dismiss the action. Green v. Ameritech Corp., 200 F.3d 967,

973 (6th Cir. 2000) (dismissal appropriate when all claims are arbitrable); Moore v.

Ferrell Gas, Inc., 533 F. Supp. 2d 740, 751-52 (W.D. Mich. 2008); Alford v. Dean

Witter Reynolds, Inc., 975 F.2d 1161, 1164 (5th Cir. 1992) (emphasis in original)

(“the weight of authority clearly supports dismissal of the case when all of the issues

raised in the district court must be submitted to arbitration”).2 Alternatively, this

Court should stay the action and compel arbitration. 9 U.S.C. § 3.




2
 Courts have decided motions to dismiss based on the FAA under Rules 12(b)(1)
(lack of jurisdiction), 12(b)(3) (improper venue), and 12(b)(6) (failure to state a
claim upon which relief can be granted). See, e.g., U.S. ex rel. TBI Investments, Inc.
v. BrooAlexa, LLC, 119 F. Supp. 3d 512 (S.D. W.Va. 2015) (citations omitted) (“the
Court will treat the Motion under Rule 12(b)(1) as a factual attack on the Court’s
jurisdiction, ‘apply the standard applicable to a motion for summary judgment,’ and
‘consider evidence outside the pleadings without converting the proceeding to one
for summary judgment’”); Lim v. Offshore Specialty Fabricators, Inc., 404 F.3d 898
(5th Cir. 2005) (finding that Rule 12(b)(3) is “a proper method for seeking dismissal
based on a forum selection or arbitration clause”); Moore, 533 F. Supp. 2d at 744-
45 (concluding that Rule 12(b)(6) was the most appropriate rule, but allowing
defendant to proceed under Rule 12(b)(1), finding the distinction “immaterial”
where both grounds required the arbitration of plaintiff’s claims). Here, Defendant
brings its motion pursuant to all of these rules.
                                          11
       Case 2:18-cv-12581-VAR-APP ECF No. 4, PageID.30 Filed 09/11/18 Page 19 of 23




III.     THIS COURT AND ANOTHER FEDERAL COURT RECENTLY
         ENFORCED CREDIT ACCEPTANCE’S ADR AGREEMENT AND ADR
         POLICY AND GRANTED MOTIONS TO DISMISS.

            This Court recently granted Credit Acceptance’s motion to dismiss where the

   identical ADR Agreement and ADR Policy were at issue. The Court agreed with

   Credit Acceptance that the ADR Policy gives exclusive jurisdiction to the arbitrator

   to resolve all disputes relating to the interpretation, application or formation of the

   Agreement. [Ex.3; Section V.D.1] Applying the Supreme Court’s decision in Rent-

   A-Center v. Jackson, 561 U.S. 63 (2010), the Court required the plaintiff in Hermiz

   to arbitrate her FMLA and state law discrimination claims. Hermiz v. Credit

   Acceptance Corp., No. 16-14089, 2017 WL 2988258 (E.D. Mich. February 16,

   2017). [Ex.4]

            Credit Acceptance’s ADR Agreement was also recently enforced in Florida,

   where the court required the plaintiff to arbitrate claims under the FMLA. Vulpis v.

   Credit Acceptance Corp., No. 16-61200, 2016 WL 10932954 (S.D. Fla. September

   22, 2016). [Ex.5] In Vulpis, the plaintiff, a former employee of Defendant, sued in

   federal court alleging violations of the FMLA and Florida’s anti-discrimination

   statute. On September 22, 2016, the federal district court compelled arbitration and

   enforced the ADR Agreement and ADR Policy, and rejected plaintiff’s argument

   that the ADR Policy is unconscionable. The court found, in relevant part, as follows:

                                             12
Case 2:18-cv-12581-VAR-APP ECF No. 4, PageID.31 Filed 09/11/18 Page 20 of 23




      Moreover, it is well-settled that an arbitration agreement may limit the
      scope of discovery to less than what is available through the federal
      courts. See Gilmer v. Interstate/Johnson Lane Corp., 500 U.S. 20, 31
      (1991) (Arbitral discovery procedures “might not be as extensive as in
      federal courts, [but] by agreeing to arbitrate, a party trades the
      procedures and opportunity for review of the courtroom for the
      simplicity, informality, and expedition of arbitration” (internal
      quotation marks omitted); AT&T Mobility LLC v. Concepcion, 563 U.S.
      333, 344 (2011) (“Parties may agree to . . . arbitrate according to
      specific rules.”) (citing Volt Info. Scis., Inc. v. Bd. Of Tr. of the Leland
      Stanford Junior Univ., 489 U.S. 468, 479 (1989)); Caley v. Gulfstream
      Aerospace Corp., 428 F.3d 1359, 1378 (11th Cir. 2005) (holding
      arbitral agreement’s requirement that depositions only be taken with
      leave of the arbitrator valid and “consistent with the goals of
      ‘simplicity, informality, and expedition’ touted by the Supreme Court
      in Gilmer.”) In light of these considerations, courts regularly enforce
      arbitral agreements containing discovery provisions similar to the
      provisions Vulpis challenges. See, e.g., Bhim v. Rent-A-Ctr., Inc., 655
      F. Supp. 2d 1307, 1314 (S.D. Fla. 2009) (enforcing arbitration
      agreement limiting deposition to one individual and any expert witness
      and allowing for additional discovery with leave of arbitrator);
      Fernandez v. Clear Channel Broad, Inc., 268 F. Supp. 2d 1365, 1368
      (S.D. Fla. 2003) (enforcing arbitration agreement limiting depositions
      to three per side and permitting additional depositions upon showing of
      “good cause”); Wilks v. Pep Boys, 241 F. Supp. 2d 860, 864-65 (M.D.
      Tenn. 2003) (enforcing arbitration agreement limiting depositions to
      one per side and allowing for additional discovery with leave of
      arbitrator).3

3
 Federal district courts in the Sixth Circuit have agreed with this reasoning. Wilks,
241 F. Supp. 2d 864-865 (enforcing an arbitration agreement giving each party a
right to depose experts and one other witness where the arbitrator could order
additional depositions based on a showing of substantial need; the arbitration
agreement used AAA rules); Johnson v. Long John Silver’s Restaurants, Inc., 320
F. Supp. 2d 656, 669 (M.D. Tenn. 2004) (same); see also Pellow v. Daimler Chrysler
Services North America, LLC, No. 05-73815, 2006 WL 2540947 (E.D. Mich. August
31, 2006) (enforcing arbitration agreement limiting each side to two depositions
unless the arbitrator orders otherwise). [Ex.7]
                                          13
Case 2:18-cv-12581-VAR-APP ECF No. 4, PageID.32 Filed 09/11/18 Page 21 of 23




      Similarly, here, the ADR Agreement and ADR Policy must be enforced and

Plaintiff’s Complaint must be dismissed.

IV.   THE COURT SHOULD DISMISS PLAINTIFF’S COMPLAINT OR, IN
      THE ALTERNATIVE, STAY THIS PROCEEDING AND COMPEL
      PLAINTIFF TO SUBMIT HIS CLAIM TO MANDATORY
      ARBITRATION.

      Section 3 of the FAA enables the Court to stay judicial proceedings when a

valid arbitration provision governs the rights of the parties:

      If any suit or proceeding be brought in any of the courts of the United
      States upon any issue referable to arbitration under an agreement in
      writing for such arbitration, the court in which such suit is pending,
      upon being satisfied that the issue involved in such suit or proceeding
      is referable to arbitration under such an agreement, shall on application
      of one of the parties stay the trial of the action until such arbitration has
      been had in accordance with the terms of the agreement . . . .
9 U.S.C. § 3.
      The FAA further provides that a court, upon determining that a dispute is

subject to arbitration, “shall make an order directing the parties to proceed to

arbitration in accordance with the terms of the agreement.” 9 U.S.C. § 4. However,

a district court also may dismiss the pending action. Moore, 533 F. Supp. 2d at 751-

52 (finding dismissal appropriate where all issues in a lawsuit are arbitrable).

      The claim asserted by Plaintiff is subject to mandatory arbitration under the

terms of the ADR Policy and the ADR Agreement. Accordingly, Plaintiff’s claim

                                           14
Case 2:18-cv-12581-VAR-APP ECF No. 4, PageID.33 Filed 09/11/18 Page 22 of 23




can, and should, be dismissed. In the alternative, the Court should stay the action

and compel the arbitration of Plaintiff’s employment-related claim. See 9 U.S.C. § 3.

                                 CONCLUSION

      Plaintiff agreed to arbitrate claims arising out of his employment or

termination of employment. Under the FAA, the ADR Agreement is entitled to

enforcement. Plaintiff’s claim should be dismissed. In the alternative, the Court

should stay proceedings and compel arbitration.

      Credit Acceptance’s motion is based on well-established law, including recent

federal court decisions that enforce the identical ADR Policy with respect to FMLA

and state law discrimination claims. Under these circumstances, the Court should

award Credit Acceptance its attorney fees and costs incurred in bringing this motion.

                                       Respectfully submitted,

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                                         15
Case 2:18-cv-12581-VAR-APP ECF No. 4, PageID.34 Filed 09/11/18 Page 23 of 23




                        CERTIFICATE OF SERVICE

      I hereby certify that on September 11, 2018, I served the foregoing papers
(Defendant’s Motion to Dismiss and/or Compel Arbitration and Brief in Support)
with the Clerk of the Court using the CM/ECF system which will send notification
of such filing to all counsel of record.



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